                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR06-4054-DEO
 vs.                                                    AMENDED
                                                       REPORT AND
 ALBERTO MALDONADO-GUTIERREZ
                                                 RECOMMENDATION ON JOINT
 and JUAN NEGRETE SANTANA,
                                                    MOTION TO SUPPRESS
               Defendants.
                                ____________________


       This matter is before the court on the defendants’ joint motion (Doc. No. 16) to
suppress evidence. The defendants filed their motion and a supporting brief (Doc. No. 17)
on June 19, 2006. On June 26, 2006, the plaintiff (the “Government”) resisted the motion
(Doc. No. 18) Senior District Judge Donald E. O’Brien designated the undersigned to
conduct a review of the evidence and to file a report and recommended disposition, in
accordance with 28 U.S.C. § 636(b)(1)(B). Accordingly, the court held an evidentiary
hearing on the motion on August 17, 2006, at which Assistant U.S. Attorney John
Lammers appeared on behalf of the Government. The defendant Alberto Maldonado-
Gutierrez (“Maldonado”) appeared in person with his attorney, Assistant Federal Defender
Robert Wichser. The defendant Juan Negrete Santana (“Negrete”) appeared in person
with his attorney, Jim K. McGough.
       The Government offered the testimony of Iowa State Patrol Trooper Jason
Halverson, and Monona County Sheriff’s Deputy Troy Jeffrey Tadlock. Two exhibits
were admitted into evidence, to-wit: Plaintiff’s Ex. 1, a DVD containing video of the
May 3, 2006, traffic stop involving the defendants; Plaintiff’s Ex. 2, a copy of a teletype
alert regarding a 1996 Chevrolet Blazer.




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       Subsequent to the hearing, the court ordered the Government to brief one of the
issues raised in the motion which the Government had omitted from its brief. (See Doc.
No. 26) On August 21, 2006, the Government filed a brief (Doc. No. 27, and on
August 22, 2006, the defendants filed a response (Doc. No. 30).
       The court has read the parties’ briefs and considered the evidence presented at the
hearing, and turns to consideration of the defendants’ joint motion to suppress.


                                BACKGROUND FACTS
       On May 3, 2006, Trooper Halverson was on routine parol, working the 2:30 p.m.
to 11:00 p.m. shift. At about 7:30 p.m., while he was patrolling Interstate 29 in the
Monona, Iowa, area, he received a call from Dispatch to inquire whether he had received
a copy of a teletype alert that had been transmitted earlier that day. Trooper Halverson
had not received the alert, so Dispatch provided him with the information, which the
Trooper wrote down on a piece of paper in his patrol car. The alert in question (Pl. Ex. 2)
indicated law enforcement had received a report that a 1996 Chevrolet Blazer vehicle was
traveling from Omaha, Nebraska, to Sioux City, Iowa, twice a week, and the vehicle was
expected to be leaving Omaha sometime that day, on May 3rd. The vehicle was registered
to an Alberto Lima with an Omaha address. The vehicle had a gold Chevrolet symbol on
the back window, and the alert provided the vehicle’s license plate number. The reporting
person indicated the vehicle would be driven by “Albert Montendao aka Carlos Montendo-
Lima,” a subject about 5'5" tall with short hair, brown eyes, and little facial hair. The
alert went on to indicate the subject was “known to transport loads of drugs.” The alert
advised law enforcement that if the vehicle was located, they should make their own case
(i.e., there was no outstanding warrant or other existing grounds to stop the vehicle).
       At approximately 8:00 p.m., Trooper Halverson received another call from
Dispatch indicating the person who had provided the initial information had called law


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enforcement again to report that the subject vehicle would be leaving Omaha in about half
an hour. Trooper Halverson placed a call to Deputy Tadlock, who has a K-9 drug dog,
and asked if Deputy Tadlock was on duty, telling him about the possibility that the subject
vehicle might be traveling up from Omaha. Although Deputy Tadlock was not on duty,
he advised Trooper Halverson to call him if he happened to stop the subject vehicle, and
the deputy would bring his K-9 unit to the scene. Trooper Halverson continued to patrol
I-29, while he watched for a vehicle matching the description provided in the alert. He
was traveling southbound on I-29. At about 8:30 p.m., he saw a vehicle traveling
northbound on I-29 that appeared to match the description of the subject vehicle. He
activated his radar and clocked the vehicle going 77 mph in a 70 mph zone. In addition,
as the vehicle passed him, he noticed it had very darkly-tinted windows that he suspected
were in violation of the law.
       Trooper Halverson crossed the center median of the highway, got into the
northbound lanes, and caught up to the vehicle. He again checked the vehicle’s speed with
radar, clocking it at 74 mph. The vehicle moved into the right lane, and Trooper
Halverson moved over behind it and activated his emergency lights to stop the vehicle.
The vehicle pulled over and stopped. Trooper Halverson observed a driver and one
passenger in the vehicle. He noted the vehicle matched every detail of the description in
the alert, including the license plate number. He got out of his patrol car and approached
the vehicle on the passenger side. He talked with the driver through the open passenger
window, explaining why he had stopped the vehicle, and asking for the driver’s license,
registration, and insurance verification. The driver produced a Mexican driver’s license
bearing the name of Carlos Lima, which was one of the names listed in the alert. The
driver also produced a registration for the vehicle, indicating it was registered to Alberto
Lima, again matching the information in the alert. The trooper asked the passenger if he
had any identification, and the passenger, later identified as the defendant Negrete,


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produced an identification card from his wallet. Trooper Halverson noticed Negrete’s
hands were shaking badly, and he could see Negrete’s heart beating rapidly underneath his
T-shirt.
        Trooper Halverson asked the driver, later identified as the defendant Maldonado,
to come back to his patrol car while he wrote out the tickets. Maldonado sat in the front
passenger seat of the patrol car and the trooper sat in the driver’s seat. The patrol car, a
2004 Crown Victoria, was equipped with ordinary doors, in front and in back, that could
be opened from both the inside and the outside, and Maldonado was not restrained in any
way or locked in the vehicle. When both Maldonado and the trooper were in the vehicle,
Trooper Halverson called Deputy Tadlock and asked him to come to the scene with his K-9
unit.   The trooper then attempted to run a driver’s license check and a check for
outstanding warrants using the information on Maldonado’s Mexican driver’s license, but
no information was available. Trooper Halverson then began entering information into the
computer to generate traffic citations to Maldonado for speeding and failure to have a
driver’s license.   While he was processing the tickets, Trooper Halverson engaged
Maldonado in conversation about the nature of his trip.
        Maldonado indicated he had lived in Omaha, Nebraska, for about five years. He
stated he was going to Sioux City that evening to visit a friend who was in the hospital due
to injuries received in a car accident. Maldonado did not know the friend’s name, when
the accident had occurred, the extent or nature of the friend’s injuries, or the name of the
hospital. He stated he was supposed to meet another friend at about 9:00 p.m. at a gas
station in Sioux City, and then he would follow that friend to the hospital. Maldonado said
Negrete was a friend of his who was riding along with him.
        Trooper Halverson went back to the Blazer and used his tint meter to check the
window tint. The windows tested at 13% light transmittal, which the trooper stated
violates both Iowa and Nebraska law. The trooper returned to the patrol car to continue


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processing the citations, including one for the window tint violation. While he worked,
he continued to talk with Maldonado, explaining what he was doing with regard to the
traffic citations, and asking about Maldonado’s trip to Sioux City. Trooper Halverson
stated Maldonado conversed with him in English at all times. Maldonado did not appear
to have any trouble understanding the trooper. He responded appropriately to all of the
trooper’s questions, and the trooper had no difficulty understanding Maldonado’s
responses, which were given in English.
       At some point while he was processing Maldonado’s traffic citations, Trooper
Halverson went back up to talk with Negrete. He wanted to get Negrete’s date of birth so
he could run a check for outstanding warrants. He asked Negrete his birth date in English,
but Negrete indicated he did not speak much English. Trooper Halverson testified he can
speak a little Spanish, enough that he can ask questions and understand most responses,
so he began talking with Negrete in Spanish. Negrete provided his birth date. He said he
had lived in Omaha for about eight months, and Maldonado was his first cousin. He stated
he and Maldonado were going to Sioux City, where they planned to visit cousins for a
couple of days. He did not know where the cousins lived, but he stated they had lived in
Sioux City for awhile. During the conversation, Trooper Halverson observed that Negrete
was extremely nervous. His heart was beating rapidly, and he had a card of a religious
figure in his lap that he was fidgeting with. The trooper also noticed there were numerous
air fresheners in the car, including some hanging from the steering column and others
hanging from the rearview mirror.
       Trooper Halverson returned to the patrol car and ran a warrants check on Negrete.
He finished processing citations for the driver’s license and window tint violations, and he
had Maldonado either sign the computer screen, or Maldonado signed a piece of paper that
was scanned into the computer. The trooper did not print out the tickets because he still
had to process the ticket for the speeding violation. He indicated his practice is to wait


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until he has completed all citations before he prints them out and provides copies to a
subject. The trooper again asked Maldonado about his relationship with Negrete, and
Maldonado again stated Negrete was just a friend.
      The video indicates Trooper Halverson finished processing the tickets about twenty-
three minutes after he initially stopped the Blazer. By this time, Deputy Tadlock had
arrived at the scene. The deputy had come up to Trooper Halverson’s patrol car to let the
trooper know he had arrived, and then Deputy Tadlock returned to his own patrol car,
parked behind the trooper’s vehicle, where he awaited further instructions.
      Trooper Halverson printed out the citations and gave copies to Maldonado. He
explained the citations and what Maldonado should do with them. He asked Maldonado
if he had anything illegal in his vehicle, specifically mentioning weapons, marijuana,
cocaine, and methamphetamine. Maldonado said he had nothing illegal in the vehicle.
Trooper Halverson asked Maldonado if he would mind if the officers searched the vehicle.
Maldonado did not answer the question, but instead stated he needed to use the restroom.
The trooper asked him twice more if they could search the vehicle, but Maldonado never
answered the question. Trooper Halverson observed that Maldonado was fidgeting in his
seat, appeared to be nervous, and would not make eye contact with him. The trooper took
Maldonado’s failure to answer the question as a refusal to consent to the search.
      Trooper Halverson then told Maldonado that Deputy Tadlock had a drug dog, and
he asked if Maldonado would mind if the deputy walked the dog around the vehicle.
Maldonado consented to this. Deputy Tadlock explained to Maldonado that his K-9 unit
was trained to detect drugs, and he asked if he could walk his dog around Maldonado’s
vehicle. Maldonado again consented. Prior to the drug dog being taken out of the
deputy’s vehicle, Maldonado was permitted to urinate in a roadside ditch.
      For purposes of Negrete’s safety and the officers’ safety, Trooper Halverson asked
Negrete to come back and sit in his patrol car while Deputy Tadlock walked the K-9 unit


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around the vehicle. Negrete sat in the back seat of the trooper’s patrol car. Trooper
Halverson backed his patrol car up a few feet to allow room for the K-9 unit to inspect the
vehicle. The trooper did not make any statements to Maldonado and Negrete to indicate
they were not under arrest or were free to leave. However, by this point, the trooper
testified he would have stopped the defendants if they had attempted to leave. Despite the
fact that they had sought Maldonado’s permission to take the K-9 unit around the car,
Trooper Halverson believed he had probable cause for the K-9 inspection of the vehicle
given his observations and the defendants’ statements during the traffic stop.
       Deputy Tadlock walked the K-9 unit up to inspect the vehicle. As Maldonado saw
the dog, he uttered, “Dios mio,” which is “My God” in English. Deputy Tadlock walked
the K-9 unit around the vehicle three times. Each time, the dog alerted on the area of the
driver’s side headlight. On the third pass, the dog indicated on that area.1 The officers
told Maldonado that the dog had indicated on the headlight area, and Maldonado consented
to a search of that area. Deputy Tadlock put the dog back into its kennel in the back of
his car, and the two officers searched the headlight area, but found nothing. Deputy
Tadlock then got the dog out again and put the dog inside the Blazer. The dog indicated
on the center console and on a Crown Royal bag in the back seat. The deputy returned the
dog to its kennel, and Negrete was moved to Deputy Tadlock’s vehicle to wait while the
officers searched the Blazer’s interior. Maldonado remained in Trooper Halverson’s
vehicle. Underneath the Blazer’s center console, the officer’s found a quantity of metham-
phetamine. Nothing was found in the Crown Royal bag or in the bag seat. However,
Deputy Tadlock testified that if drugs had been in that area, the dog would indicate on the
area even if the drugs no longer were present.



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       Deputy Tadlock explained an “alert” is when the dog takes a particular interest in
an area, sniffing aggressively and sticking his nose into openings. An “indication” is an
aggressive scratching that the dog is trained to do when it detects drug odor.

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       After the drugs were found, both of the defendants were placed under arrest.
Trooper Halverson transported Maldonado to the Monona County Sheriff’s office, while
Deputy Tadlock transported Negrete. At the jail, Negrete was searched incident to his
arrest, and a piece of foil containing some drugs was found on his person. Trooper
Halverson called DEA agents, who came to the jail and interviewed the defendants. The
trooper testified a DEA agent advised Negrete of his rights in Spanish and interviewed him
in Spanish.
       Notably, the entire traffic stop is recorded on the video, Plaintiff’s Ex. 1, except
for one to two minutes when Trooper Halverson had to change the videotape. He
explained the time shown on the video is inaccurate due to a malfunction in the video
recorder in his patrol car. He indicated the time difference is approximately forty minutes.
From statements made by different individuals on the video, it appears the time shown on
the videotape is about forty minutes behind the actual time.
       The events as shown on the videotape support the officers’ testimony about the
sequence of events that occurred at the scene of the traffic stop.


                                      DISCUSSION
       The defendants do not challenge the stop itself. Indeed, even if the stop was
pretextual, the trooper could have stopped the vehicle for the most minor of traffic
violations. See United States v. Gomez Serena, 368 F.3d 1037, 1041 (8th Cir. 2004)
(citing Whren v. United States, 517 U.S. 806, 813, 116 S. Ct. 1769, 1774, 135 L. Ed. 2d
89 (1996)); United States v. Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998); United States v.
Caldwell, 97 F.3d 1063, 1067 (8th Cir. 1996) (citing United States v. Thomas, 93 F.3d
479, 485 (8th Cir. 1996)).
       The defendants argue they were detained improperly after Trooper Halverson
completed the traffic investigation and gave Maldonado the citations. They further argue


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they were arrested without probable cause, and the warrantless search of the Blazer’s
interior was made without probable cause. The facts of the case do not support the
defendants’ arguments.
      As the Eighth Circuit Court of Appeals explained in United States v. Barragan, 379
F.3d 524 (8th Cir. 2004):
             Once the stop of a vehicle has occurred, a “police officer may
             detain the offending motorist while the officer completes a
             number of routine but somewhat time-consuming tasks related
             to the traffic violation, such as computerized checks of the
             vehicle’s registration and the driver’s license and criminal
             history, and the writing up of a citation or warning.” United
             States v. $404,905.00 in U.S. Currency, 182 F.3d 643, 647
             (8th Cir. 1999); see also United States v. Brown, 345 F.3d
             574, 578 (8th Cir. 2003). “[I]f the responses of the detainee
             and the circumstances give rise to suspicions unrelated to the
             traffic offense, an officer may broaden his inquiry and satisfy
             those suspicions.” United States v. Barahona, 990 F.2d 412,
             416 (8th Cir. 1993). An officer may also question a vehicle’s
             passengers to verify information provided by the driver,
             United States v. Linkous, 285 F.3d 716, 719 (8th Cir. 2002),
             and conflicting stories may provide justification to expand the
             scope of the stop and detain the occupants. Brown, 345 F.3d
             at 578.
Barragan, 379 F.3d at 528-29.
      In the present case, Trooper Halverson’s suspicions were raised by the match of the
Blazer and its driver to the details of the teletype alert, the obvious nervousness of the
defendants, the presence of numerous air fresheners in the vehicle, and the discrepancies
and incompleteness of the defendants’ stories.
             An officer’s suspicion of criminal activity may reasonably
             grow over the course of a traffic stop as the circumstances
             unfold and more suspicious facts are uncovered. See United
             States v. Morgan, 270 F.3d 625, 631 (8th Cir. 2001); [United
             States v.] Poulack, 236 F.3d [932,] 936 [(8th Cir. 2001)]. See
             also [United States v.] Barahona, 990 F.2d [412,] 416 [(8th

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               Cir. 1993)] (“[I]f the responses of the detainee and the
               circumstances give rise to suspicions unrelated to the traffic
               offense, an officer may broaden his inquiry and satisfy those
               suspicions.”).
United States v. Linkous, 285 F.3d 716, 720 (8th Cir. 2002).
       Viewing the totality of the circumstances, the court finds Trooper Halverson was
justified in detaining the defendants while he investigated further. In addition, with Deputy
Tadlock’s K-9 unit already at the scene before the traffic citations were completed, it was
not a violation of the defendants’ Fourth Amendment rights to require them to remain at
the scene while the dog sniffed the vehicle’s exterior. See United States v. $404,905.00
in U.S. Currency, 192 F.3d 643, 649 (8th Cir. 1999).
       The defendants argue they were not merely detained during the K-9 sniff of the
vehicle; they actually were under arrest because they were not free to leave. As noted
above, Trooper Halverson was justified in detaining the defendants while he continued his
investigation. The mere fact that the defendants were being detained in the officers’ patrol
cars did not mean they were under arrest, particularly in light of the short length of time
the defendants were detained. See Barragan, supra; United States v. Maltais, 403 F.3d
550, 556 (8th Cir. 2005) (citing United States v. Naverrete-Barron, 192 F.3d 786, 790 (8th
Cir. 1999)).
       The defendants also argue Maldonado only consented to the officers’ search of the
area surrounding the driver’s side headlight; he never consented to the K-9 unit sniffing
the inside of the vehicle. In response, the Government agrees Maldonado never consented
to a search of the vehicle, but the Government states the drug dog search of the vehicle’s
interior was not based on consent. The Government did not address the issue in its initial
brief. (See Doc. No. 18, p. 4) In its subsequent brief, filed in response to the court’s
order, the Government argues the trooper had probable cause to search the vehicle in any
event, and therefore the search lawfully could extend to “‘every part of the vehicle and its


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contents that may conceal the object of the search.’” (Doc. No. 27, p. 2, quoting United
States v. Ross, 456 U.S. 798, 825, 102 S. Ct. 2157, 2173, 72 L. Ed. 2d 572 (1982));
citing United States v. Perry, 925 F.2d 1077, 1080 (8th Cir. 1991)).
       The defendants agree the trooper had probable cause to stop the vehicle and conduct
a reasonable investigation. However, they argue probable cause did not exist for a search
of the vehicle’s interior. They note the K-9 unit had only been certified two days prior to
the traffic stop, and the dog “acted in an excited and skittish manner throughout the
duration of the traffic stop by acting nervously and alerting on the ditch of the roadway.”
(Doc. No. 30, p. 3)
       The issue turns on whether the officers had probable cause to search any part of the
vehicle. The Eighth Circuit explained the applicable law in United States v. Perry, 925
F.2d 1077 (8th Cir. 1991), as follows:
                      In a prohibition vintage case, Carroll v. United States,
              267 U.S. 132, 45 S. Ct. 280, 69 L. Ed. 543 (1925), the Court,
              after reviewing the state of fourth amendment law to that date,
              announced that a search of an automobile could be conducted
              without a warrant where it was founded on probable cause to
              believe that contraband liquor was being carried. Id. at 155-
              56, 45 S. Ct. at 285-86. The case dealt with the transportation
              of bootleg whiskey in violation of prohibition and the federal
              laws enforcing it. A more modern pronouncement of the same
              reasoning is found in a narcotics case, United States v. Ross,
              456 U.S. 798, 102 S. Ct. 2157, 72 L. Ed. 2d 572 (1982).
              There the search was conducted of the trunk of an automobile,
              including containers discovered therein, on the reasonable
              belief that heroin was being secreted. At issue was the scope
              of the search. While the High Court reiterated that warrantless
              searches are per se violative of the fourth amendment unless
              they fall within a carefully tailored exception, id. at 824-25,
              102 S. Ct. at 2172-73 (quoting Mincey v. Arizona, 437 U.S.
              385, 390, 98 S. Ct. 2408, 57 L. Ed. 2d 290 (1978) (citation
              omitted)), the Court concluded that the Carroll exception was
              such a carefully tailored exception into which the case fell.


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               The Court further defined the exception as one that allows for
               a warrantless search whose scope is “no broader and no
               narrower than a magistrate could legitimately authorize by
               warrant.” Id. 456 U.S. at 825, 102 S. Ct. at 2173. The Court
               held that “[i]f probable cause justifies the search of a lawfully
               stopped vehicle, it justifies the search of every part of the
               vehicle and its contents that may conceal the object of the
               search.” Id.
Perry, 925 F.2d at 1080 (emphasis added). Thus, if the officers had probable cause to
search any part of the vehicle, then they lawfully could search all parts of the vehicle that
might contain drugs. Id.
       In the present case, the undersigned finds the officers had probable cause to search
the vehicle.    Trooper Halverson cited numerous factors that, when taken together,
provided reasonable suspicion that the defendants were transporting drugs. An unknown
informant had provided information that a specific vehicle, with a specific license plate and
description, frequently traveled to Sioux City, Iowa, from Omaha, Nebraska, with loads
of drugs. The informant described the driver and provided a name used by the driver.
The same informant stated the subject vehicle would be leaving Omaha that evening,
headed for Sioux City.
       Trooper Halverson saw a vehicle matching the informant’s description perfectly.
He lawfully stopped the vehicle for a traffic violation, and discovered that the driver also
matched the informant’s description. He observed that the driver and passenger were
extremely nervous, and there were numerous air fresheners hanging in the vehicle. Cf.
United States v. Ojeda, 23 F.3d 1473, 1476 (8th Cir. 1994) (strong masking odors in car
contributed to jury’s finding that defendant knew there were drugs in car). He also noted
discrepancies in the stories the defendants gave with regard to their trip. While Maldonado
referred to Negrete as a “friend,” Negrete said Maldonado was his “cousin.” Maldonado
said he was traveling to Sioux City to visit a friend who was in the hospital, yet he could
not provide the friend’s name or the name of the hospital. Negrete said they were

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traveling to Sioux City to visit cousins, but he could not provide an address for the
cousins.
       When the K-9 unit walked around the subject vehicle, the dog alerted twice and
finally indicated on the vehicle, strongly evidencing the presence of drugs somewhere
within the vehicle. The court does not find it dispositive that the dog indicated on the
headlight area each time. Deputy Tadlock testified it was windy in the area, and each time
a car passed on the highway, it tended to throw the dog off the scent somewhat, though the
dog continued to alert to the presence of drugs. “A dog’s identification of drugs in . . .
a car provides probable cause that drugs are present.” United States v. Bloomfield, 40
F.3d 910, 919 (8th Cir. 1994). The court finds it was unnecessary for the dog to alert to
any particular place on the car to provide probable cause for a further search.
       Given these facts, the court finds the officers had probable cause to search the
vehicle. Had they applied for a search warrant based on these facts, a reasonable
magistrate legitimately could have authorized a search of the entire vehicle. At the very
least, the officers had probable cause to search the headlight area of the vehicle. Pursuant
to Ross, they therefore had probable cause to conduct a warrantless search of every area
of the vehicle that could conceal drugs. Further, the officers did not simply begin to
search the entirety of the vehicle. Instead, they took the K-9 unit into the vehicle. It was
only when the dog alerted to the vehicle’s console that they searched that area, locating the
drugs. The court finds the officers acted reasonably, lawfully, and within the Carroll/Ross
automobile exception to the fourth amendment prohibition of warrantless searches.
       One final matter should be noted. In its resistance to the defendants’ joint motion,
the Government also raises the issue that Negrete lacks standing to challenge the search
of the Blazer. Because the court has found the search to be valid in any event, the issue
is moot and requires no further discussion here.




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      Accordingly, for the reasons discussed above, IT IS RESPECTFULLY
RECOMMENDED that the defendants’ joint motion to suppress evidence be denied in its
entirety. Objections must be filed by August 29, 2006. Responses to objections, if any,
must be filed by September 1, 2006.
      IMPORTANT NOTE: Any party planning to lodge objections to this Report and
Recommendation must order a transcript of the hearing promptly (in any event not later
than Monday, August 28, 2006), regardless of whether the party believes a transcript
is necessary to argue the objection. If an attorney files an objection to this Report and
Recommendation without having ordered the transcript as required, then the court may
impose sanctions on the attorney.
      IT IS SO ORDERED.
      DATED this 22nd day of August, 2006.




                                         PAUL A. ZOSS
                                         MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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